         Case 3:21-cv-04739-JCS Document 39 Filed 05/06/22 Page 1 of 5




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 9
                               UNITED STATES DISTRICT COURT
10
11                            NORTHERN DISTRICT OF CALIFORNIA

12 WARREN LEGARIE, an individual, and         Case No.: 3:21-CV-04739-JCS
   LEGARIE MANAGEMENT, INC., a California
13 Corporation,                               JOINT CASE MANAGEMENT
                                              STATEMENT
14              Plaintiffs,
                                              Courtroom:   F, 15th Floor
15                                            Judge:       Hon. Joseph C. Spero
          vs.
16                                            Date:        May 13, 2022
     NICHOLAS DAVID NURSE, an individual,     Time:        2:00 P.M.
17
                Defendant.
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     JOINT CASE MANAGEMENT STATEMENT                  Case No.: 3:21-CV-04739-JCS
         Case 3:21-cv-04739-JCS Document 39 Filed 05/06/22 Page 2 of 5




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     JOINT CASE MANAGEMENT STATEMENT                 Case No.: 3:21-CV-04739-JCS
           Case 3:21-cv-04739-JCS Document 39 Filed 05/06/22 Page 3 of 5




 1          Plaintiffs Warren LeGarie and LeGarie Management, Inc. (collectively, “LeGarie”), and
 2 Defendant Nicholas David Nurse (“Nurse”) (collectively, “the Parties”) jointly submit the following
 3 case management statement in anticipation of the Case Management Conference scheduled before
 4 this Court on May 13, 2022 at 2:00 P.M.
 5          1. ADR
 6          The Parties have agreed to mediate this matter before the Honorable Jay C. Gandhi on
 7 September 23, 2022.
 8          2. Discovery
 9          LeGarie served Nurse with a first set of written discovery requests on November 3, 2021.
10 Nurse served responses on January 18, 2022 and provided verifications on January 21, 2022. On
11 February 8, 2020 the Parties held a video conference to discuss Nurse’s responses. Following the

12 videoconference, due to the concerns expressed by Nurse, LeGarie agreed to withdraw two (2)
13 requests for production and narrow the nine (9) remaining requests. Nurse provided supplemental
14 responses to LeGarie’s narrowed discovery requests on February 24, 2022. Nurse produced
15 additional responsive documents on April 10, 2022 and April 29, 2022. LeGarie is in the process of
16 reviewing the documents produced on April 29, 2022.
17          The Parties continue to meet and confer regarding Nurse’s responses to written discovery. If
18 the Parties are unable to reach a resolution, the parties intend to implement the discovery resolution
19 process outlined in section E(9) of Judge Spero’s Civil Standing Order.
20          On April 29, 2022, Nurse served LeGarie with a first set of written discovery requests,
21 including requests for documents.
22          The Parties conducted the deposition of Masai Ujiri, President of Basketball Operation of
23 the Toronto Raptors, on April 13, 2022 and conducted the deposition of Bobby Webster, General
24 Manager of the Toronto Raptors, on April 14, 2022. The Parties have scheduled the deposition of
25 Nurse on June 21, 2022.
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     JOINT CASE MANAGEMENT STATEMENT                               Case No.: 3:21-CV-04739-JCS
          Case 3:21-cv-04739-JCS Document 39 Filed 05/06/22 Page 4 of 5




 1          3. Pretrial Schedule

 2          The Parties propose continuing expert discovery deadlines in light of the Parties’ mediation

 3 date, in particular, continuing expert discovery deadlines approximately thirty (30) days after the

 4 September 23, 2022 mediation. The Parties propose amending the expert discovery deadlines, as

 5 follows:

 6   Description                                           Current Deadline       Proposed Deadline
 7   Expert Disclosure Deadline                            08/01/22               10/28/22
 8   Expert Rebuttal Deadline                              08/15/22               11/11/22
 9   Expert Discovery Deadline                             9/1/22                 11/29/22
10   Deadline to File Dispositive Motions and Daubert 09/16/22                    12/9/22
11   Motions Hearing and Daubert Motions                   11/04/22               01/13/23
12

13

14 DATED: May 6, 2022                     Hunter Pyle Law

15
                                                     /s/ Hunter Pyle
                                                 By: ______________________
16                                                   Hunter Pyle
                                                     Natalia Ramirez Lee
17

18                                               Attorneys for Plaintiffs
                                                 WARREN LEGARIE and LEGARIE
19                                               MANAGEMENT, INC.
20

21 DATED: May 6, 2022                     Goodwin Procter LLP

22
                                                      /s/ Jennifer Briggs Fisher
                                                 By: ______________________
23                                                   Alexis Coll-Very
                                                     Jennifer Briggs Fisher
24                                                   Jessica H. Huang
25                                                   Gerald Wayne Crawford (pro hac vice)

26                                               Attorneys for Defendant
                                                 NICHOLAS DAVID NURSE
27

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     JOINT CASE MANAGEMENT STATEMENT                                  Case No.: 3:21-CV-04739-JCS
          Case 3:21-cv-04739-JCS Document 39 Filed 05/06/22 Page 5 of 5




 1                                                    ***

 2                        ATTESTATION RE: ELECTRONIC SIGNATURES

 3          I, Hunter Pyle, attest pursuant to Northern District Civil Local Rule 5-1(i)(3) that all

 4 signatories on this document agree to the filing’s content and have authorized this filing. I declare

 5 under penalty of perjury under the laws of the United States of America that the foregoing is true

 6 and correct.

 7
     DATED: May 6, 2022                                 /s/ Hunter Pyle
                                                   __________________________
 8                                                                 Hunter Pyle
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     JOINT CASE MANAGEMENT STATEMENT                                 Case No.: 3:21-CV-04739-JCS
